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                             SO U TH E RN D ISTR ICT O F FLO RID A
                                  CA SE N O .:12-cv-61390-K M W

   CARLOS CA BRERA ,individually
   and on behalf of all others sim ilarly
   situated,

                Plaintiff,
   VS.

   GO V ERN M EN T EM PLO YEES
   IN SUR AN CE CO M PAN Y ,and
   BELL,LLC,

                D efendants.


               RULE 54(b)FINAL ORDER AND JUDGM ENT IN FAVOR OF
                 G O V ERN M ENT EM PLO YEE S IN SUR AN C E C O M PA NY

         This m atter cam e before the Court on G ovenunent Em ployees lnsurance Com pany's

  ($kGE1CO'')Unopposed M otion and Supporting M emorandum to Entera FederalRuleofCivil
  Procedure54(b)FinalJudgment(theStM otion'').TheCourthaving consideredtheM otionand its
  Sealed OrderGranting M otion forSummary Judgmentdated September 17,2014 (Dkt.146)
  (the(ûGEICO SummaryJudgmentOrder),andbeingotherwisefullyadvisedinthepremises,itis
  O R D ER ED AN D AD JU D G ED as follow s:

               GEICO'Sunopposedmotionforentryoffinaljudgment(DE 152)isGRANTED.
         2.    Final Judgm ent is entered in GEICO 'S favor in accordance with the GEICO

               Sum mary Judgm entOrder.

  DONEandORDEREDinChambers,inMiami,Florida,thisCt*xyofMarch,2015,

                                                  Honorabl K athleen M .W illiam s
                                                  United S tesD istrictJudge
